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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )                 Case No. 1:04-cv-00798-PLF/GMH
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.       )
                                      )
                   Defendants In Rem )

                                        JOINT STATUS REPORT

          Pursuant to this Court’s Minute Order dated March 31, 2021, Plaintiff United States of

America and Claimants Pavel, Katerina and Lecia Lazarenko (the “Parties”) jointly file this Status

Report.

          Joint Position of the Parties: Discovery has been stayed by the District Court pending a

ruling on the United States’ motions to strike. (Dkt. No. 1313). Two of the United States’ motions

remain pending. (Dkt. Nos. 1256 and 1317). The Parties suggest they should file a status report either

fourteen days after the Court decides both of the currently pending standing motions, or by October 1,

2021, whichever occurs sooner.

          Additional Position of Claimants Pavel, Katerina, and Lecia Lazarenko: The Court

should modify the discovery stay to permit depositions of U.S.-based experts. Claimants do not

believe that foreign-based experts can be deposed due to the Covid-19 pandemic. The case should

move forward promptly, or at least move forward in the most practical manner possible under the

circumstances. Over $70 million in funds are not subject to a motion to strike, so continuing with

expert discovery is reasonable given the age of the case. The delay in the proceedings is prejudicial to

the claimants. Doggett v. United States, 505 U.S. 647, 654 (1992); United States v. $8,850, 461 U.S.



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555, 564-70 (1983). The district court should lift the discovery stay or, at least, modify the discovery

stay to permit U.S.-based expert depositions to begin.

       United States’ Response to Additional Position of Claimants Pavel, Katerina and Lecia

Lazarenko: As the Court has previously advised Claimants’ counsel, this Joint Status Report is not a

proper vehicle for consideration of any request to modify the stay of expert discovery ordered by the

Honorable Judge Friedman on July 8, 2020. See November 5, 2020, Order (Dkt. No. 1377).

Accordingly, although the United States disputes Claimants’ representations, it does not further

respond at this time.

                                      Respectfully submitted,

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                             DEBORAH CONNOR, CHIEF
                             MONEY LAUNDERING
                              AND ASSET RECOVERY SECTION

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